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                                                            testimony, that fire resulted from a malfunction of
Only the Westlaw citation is currently available.           one of electrical devises or its wiring, lacked
                                                            foundation and was unreliable; and (3) manufacturer
                                                            of allegedly defective dishwasher could not be liable
                                                            to owners of ship which was destroyed due to fire
     United States District Court, D. Minnesota.            allegedly cause by dishwasher absent evidence that
                                                            dishwasher was in fact source of fire.
 Emmett and Karen ERPELDING, David Johnson,
       and the Afton Marina & Yacht Club,                   Motion granted.
                  Inc., Plaintiffs,
                        and
      UNITED SERVICES AUTOMOBILE                            [1] Evidence        555.5
           ASSOCIATION, Intervenor,
                         v.                                 157k555.5 Most Cited Cases
 SKIPPERLINER INDUSTRIES, INC., Defendant
             and Third-Party Plaintiff,                     Proposed expert testimony, that wiring of dishwasher
                         v.                                 or electrical system was cause of fire, was not
SEARS, ROEBUCK AND COMPANY, being sued                      sufficiently derived by a reliable scientific method, as
      as Sears, Roebuck & Co., Third-Party                  required by Federal Rules of Evidence governing
                    Defendant.                              expert testimony, in trial against boat designer for
  Stephen BENNINGTON and Gerald Shannon,                    breach of implied and express warranties as result of
         Plaintiffs and Cross-Claimants,                    alleged defect in the boat which resulted in fire;
                        and                                 record provided little information about what
  Michael S. and Deborah J. COX, Plaintiffs and             scientific principles and methodology, if any, were
                 Cross-Claimants,                           used by expert in reaching his conclusions, and his
                         v.                                 conclusions, whether actually correct or not, did not
 SKIPPERLINER INDUSTRIES, INC., Defendant                   logically flow from assumptions and evidence he
             and Third-Party Plaintiff,                     described as underpinning those conclusions.
  Emmett and Karen ERPELDING, Plaintiffs and                Fed.R.Evid. Rule 702.
             Cross-Claim Defendants,
                         v.                                 [2] Evidence     555.5
SEARS, ROEBUCK & CO., Third -Party Defendant.               157k555.5 Most Cited Cases

               No. 99-16(DWF/AJB).                          Proposed expert testimony, that wiring of dishwasher
                                                            or electrical system was cause of fire, lacked
                    Sept. 5, 2002.                          foundation in trial against boat designer for breach of
                                                            implied and express warranties as result of alleged
                                                            defect in the boat which resulted in fire; expert did
 Boat owners and individuals and entities who lost          not know whether dishwasher could cause a fire if it
property as result of fire which destroyed boat filed       was not in use, he did not know whether dishwasher
action against boat designer alleging breach of             door was latched, did not perform tests on model of
implied and express warranties as result of alleged         dishwasher to determine whether it had any defects,
defect in the boat which resulted in fire. Designer         and he did not know whether any such tests were
filed third-party complaint against manufacturer of         performed by anyone else. Fed.R.Evid. Rule 104(a)
allegedly defective dishwasher. Manufacturer filed
motion to exclude testimony of two experts retained         [3] Evidence     555.5
by boat owners. The District Court, Frank, J. held          157k555.5 Most Cited Cases
that: (1) proposed expert testimony, that wiring of
dishwasher or electrical system was cause of fire, was      Proposed expert testimony, that fire resulted from a
not sufficiently derived by a reliable scientific           malfunction of one of electrical devises or its wiring,
method and lacked foundation; (2) proposed expert           lacked foundation and was unreliable in trial against

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boat designer for breach of implied and express
warranties as result of alleged defect in the boat              MEMORANDUM OPINION AND ORDER
which resulted in fire; expert provided little to no
information about what, if any, scientific principles       FRANK, J.
informed his opinion or what, if any, scientific
method he used to reach that opinion, and expert                                 Introduction
gave no explanation for his apparent failure to
consider fire sources external to boat, including            *1 The above-entitled matter came on for hearing
possibility of lightning. Fed. R. Evid. Rule 104(a)         before the undersigned United States District Judge
                                                            on August 16, 2002, pursuant to Third-Party
[4] Sales    284(1)                                         Defendant Sears, Roebuck & Co.'s motion to exclude
343k284(1) Most Cited Cases                                 the expert testimony of Lawrence Plack and John
                                                            Pagels and for summary judgment. For the reasons
Manufacturer of allegedly defective dishwasher could        set forth below, the motion is granted.
not be liable to owners of ship which was destroyed
due to fire allegedly caused by dishwasher absent                                Background
evidence that dishwasher was in fact source of fire in
trial against boat designer for breach of implied and        This action arises out of a fire which destroyed a
express warranties as result of alleged defect in boat      boat owned by the Erpeldings; the fire also did
which resulted in fire.                                     damage to the property of The Afton Marina & Yacht
 Robert M. Frazee, Jeffry C. Schmidt, and Clinton S.        Club, Stephen Bennington, Gerald Shannon, and
Bogden, Meagher & Geer, Minneapolis, MN, Robert             Michael and Deborah Cox. The Erpeldings' boat was
Lentz, Steven B. Fisher, and Joseph J. Janatka, Daar        designed and assembled by Skipperliner. The boat, as
Fisher Kanaris & Vanek, Chicago, IL, and Bradley            delivered in May of 1997, came equipped with a
D. Fisher, Foley & Mansfield, Minneapolis, MN, for          number of amenities and appliances, including a
Plaintiffs and Cross-Claim Defendants Emmett and            Kenmore dishwasher manufactured by Sears.
Karen Erpelding.
                                                             In the early morning hours of May 28, 1998, Karen
Jeffrey W. Lambert, Lambert & Boeder, Wayzata,              Erpelding-who was alone on the boat-awoke to
MN, Derrick Kirby, Alan K. Goldstein, and Daniel            discover that the vessel was on fire. Mrs. Erpelding
E. Tranen, Goldstein & Price, St. Louis, MO, for            saw flames in the galley of the boat and went to a
Plaintiffs and Cross-Claimants Stephen Bennington           neighboring vessel to call for emergency assistance.
and Gerald Shannon.                                         Despite Mrs. Erpelding's attempts to unmoor the
                                                            boat, the boat burned while docked. The flames
Aaron Biber, Mansfield Tanick & Cohen,                      spread to a number of nearby boats, seriously
Minneapolis, MN, for Plaintiffs and Cross-Claimants         damaging and/or destroying them.
Michael S. and Deborah J. Cox.
                                                             The Erpeldings allege that the fire was electrical in
Thomas Peterson, Peterson & Hektner, Minneapolis,           nature and originated in the control panel of the
MN, for Plaintiffs David Johnson and the Afton              Kenmore dishwasher or in the immediately adjacent
Marina & Yacht Club.                                        wiring to the dishwasher. They further allege that the
                                                            fire was the result of some latent defect in the
 Craig Dokken, Yost & Baill, Minneapolis, MN, for           dishwasher, or, at a minimum, the result of some
Intervenor United Services Automobile Association.          latent defect in the wiring of the boat itself.

Daniel A. Haws, Murnane Conlin White & Brandt,               The Erpeldings brought this action against
St. Paul, MN, Timothy R. Schupp, Flynn Gaskins &            Skipperliner alleging breach of implied and express
Bennett, Minneapolis, MN, Joseph G. Petrosinelli,           warranties as a result of the alleged defect in the boat.
Williams & Connolly, Washington, DC, for Third-             The remaining plaintiffs are individuals and entities
Party Defendant Sears, Roebuck & Co.                        who lost property as a result of the fire on the
                                                            Erpeldings' boat. Skipperliner has brought a third-
 Patrick Reilly, Leon R. Erstad, Gina M. Stanaway,          party complaint against Sears, the manufacturer of
Erstad & Riemer, Minneapolis, MN, for Defendant             the allegedly defective dishwasher.
and Third-Party Plaintiff Skipperliner Industries, Inc.
                                                            Sears has brought this motion to exclude the exp ert

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testimony of Lawrence Plack and John Pagels, two             In order that such expert evidence meets Rule 702's
experts retained by the Erpeldings. If the Plack and         requirement of "scientific knowledge," it must be
Pagels testimony is excluded, Sears argues, there is         derived by a reliable scientific method.
absolutely no evidence remaining in the record to
establish that the dishwasher was the source of the           [1] In evaluating expert testimony pursuant to
fire, and Sears should be dismissed from the suit.           Daubert, the Court's focus is solely on principles and
                                                             methodology, and not on the conclusions that expert
 Skipperliner is in the unusual and unenviable               ultimately reaches. The record provides little
position of defending against this motion.                   information about what scientific principles and
Skipperliner does not endorse the testimony of Plack         methodology, if any, were used by Plack in reaching
and Pagels, which testimony implicates Skipperliner          his conclusions. His conclusions, whether actually
itself. Rather, Skipperliner argues that if the Plack's      correct or not, do not logically flow from the
and Pagels's opinions are excluded, Skipperliner             assumptions and evidence he describes as
should also be dismissed from the case. However,             underpinning those conclusions. The Court finds that
Skipperliner has brought no motion for summary               Plack's testimony is not sufficiently reliable, pursuant
judgment.                                                    to Article 7 of the Federal Rules of Evidence, to be of
                                                             any assistance to the jury. The reliability concerns
 Plack and Pagels are the Erpeldings' witnesses,             raised by Sears and adopted by the Court are of
witnesses crucial to establishing some fire origin           sufficient magnitude that they render the opinions
other than lightening or Mrs. Erpeldings' own                inadmissible and do not simply go to the weight that
negligence and thus crucial to establishing that             a fact-finder should afford them. Accordingly, Plack's
someone other than the Erpeldings is financially             opinions should be excluded.
liable for the enormous losses incurred. Remarkably,
however, the Erpeldings have not filed any brief in           [2] Moreover, separate from the Daubert-Kumho
response to Sears's motion. Rather, the Erpeldings           Tire issues, Plack's testimony and conclusions are
take no position on the instant motion at all, asserting     entirely lacking in foundation. Lawrence Plack
that the motion affects only Sears and Skipperliner          opines that the cause of the Erpelding fire was the
because the Erpeldings have not directly sued Sears.         electrical system or wiring of the dishwasher. Plack's
The Erpeldings make no comment about the fact that           opinion is based upon his conclusion, supposedly
Sears is attempting to extricate itself from this action     drawn from the eyewitness testimony of Karen
by challenging the admissibility of the Erpeldings'          Erpelding, that the source of the fire was somewhere
witnesses, and that if Sears is successful on this           in the lower cabinet near the sink and the dishwasher.
motion, the Erpeldings' case against Skipperliner will       However, Karen Erpelding adamantly insists that she
likely disintegrate.                                         saw flames only near the ceiling, in a corner of the
                                                             galley which is on the other side of the room from the
                    Discussion                               dishwasher. Plack's basis for disregarding Mrs.
1. Motion to Exclude Witnesses                               Erpelding's eyewitness account is that, when asked
                                                             whether there were flames near the dishwasher, she
 *2 Sears challenges the expert testimony of                 responded that she did not think so. Such a tentative
Lawrence Plack and John Pagels. Sears alleges that           response, Plack concludes, cannot be used to exclude
the testimony of these two experts is inherently             the dishwasher area as a source of flames and the fire.
unreliable and lacking in foundation, and Sears              Even assuming that Mrs. Erpelding's statement was
asserts that the testimony should be excluded                too tentative to rule out the dishwasher as a source of
pursuant to this Court's gatekeeping function, as            the fire, it is certainly too tentative to serve as the
defined in Daubert v. Merrill Dow Pharmaceuticals,           basis for the conclusion that the dishwasher was the
Inc., 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469          source of the fire.
(1993), and Kumho Tire Co., Ltd. v. Carmichael, 526
U.S. 137, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999).             Beyond Plack's strained interpretation of Mrs.
The Court agrees that the testimony of these two             Erpelding's eyewitness testimony-which has the
experts should be stricken.                                  effect of concluding she meant the exact opposite of
                                                             what she said-Plack has little basis for his conclusion
 Pursuant to Kumho Tire and Daubert, a trial court,          that the dishwasher was the source of the fire. Plack
performing its gate-keeping function, must ensure            notes that there was beaded copper in the dishwasher,
that any and all scientific or other expert testimony or     a finding consistent with the dishwasher being the
evidence admitted is not only relevant, but reliable.        source of the fire. However, Plack fails to note,

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explain, or discount the testimony of John Pagels that       Pagels is unable to determine which of the many
beaded copper was found everywhere throughout the            electrical devises and wires in the galley caused the
galley and that beaded copper is as likely a result of       fire. Although Pagels cannot exclude the dishwasher
the fire as evidence of its cause. Moreover, Plack's         as a cause, neither does he exclude any of the other
testimony otherwise lacks foundation. Plack asserts          electrical devises; Pagels ultimately does not pinpoint
that a defect in the wiring system of the dishwasher         the source of the fire with any useful precision.
must have caused the fire, yet he does not know
whether a dishwasher can cause a fire if it is not in         Moreover, even Pagels's seemingly unremarkable
use; he does not know whether the dishwasher door            conclusion that the fire was electrical proves
was latched (a fact he concedes is relevant to his           unreliable. Pagels determined that the fire was
conclusion); he himself did not perform tests on this        electrical simply because "[t]he only heat producing
model of dishwasher to determine whether it has any          source in the area where the fire was discovered was
defects; and he does not know whether any such tests         the electrical system and the electrical appliances that
were performed by anyone else.                               were connected to that system." Pagels had no
                                                             foundation for that assumption. First, it contradicts
 *3 The Court agrees with Sears's characterization of        the apparently uncontroverted evidence that there
Plack's testimony: Plack begins with the premise that        was a candle in the galley (although the is sue of
the cause of the fire was electrical and then                whether the candle was burning remains disputed).
determines that the dishwasher must be the source,           Second, Pagels gives no explanation for his apparent
mysteriously discounting the possibility that any of         failure to consider fire sources external to the boat,
the many other electrical appliances in the galley           including the possibility of lightning.
could have caused the fire. Plack reaches his
conclusions by determining that the source of the fire       2. Summary Judgment Standard of Review
was in the lower galley cabinet near the dishwasher,
even though he has no independent basis for                   Summary judgment is proper if there are no disputed
concluding that the fire started there and even though       issues of material fact and the moving party is
that determination directly contradicts the testimony        entitled to judgment as a matter of law. Fed.R.Civ.P.
of the only eyewitness to the fire.                          56(c). The court must view the evidence and the
                                                             inferences which may be reasonably drawn from the
 Plack's testimony and conclusions are lacking in            evidence in the light most favorable to the
foundation and not sufficiently reliable to be of use to     nonmoving party. Enterprise Bank v. Magna Bank of
a jury. Accordingly, they should be excluded.                Missouri, 92 F.3d 743, 747 (8th Cir.1996). However,
                                                             as the Supreme Court has stated, "[s]ummary
 [3] The testimony of John Pagels should be similarly        judgment procedure is properly regarded not as a
excluded. First, as with Plack, the record provides          disfavored procedural shortcut, but rather as an
little to no information about what, if any, scientific      integral part of the Federal Rules as a whole, which
principles informed Pagels's opinion or what, if any,        are designed 'to secure the just, speedy, and
scientific method he used to reach that opinion. Thus,       inexpensive determination of every action." '
the testimony and opinion should be excluded                 Fed.R.Civ.P. 1. Celotex Corp. v. Catrett, 477 U.S.
pursuant to Daubert and Kumho Tire.                          317, 327, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).

 Also, as with Plack's opinion, the flaws in Pagels's         *4 The moving party bears the burden of showing
opinion run deeper than the usual Daubert-Kumho              that there is no genuine issue of material fact and that
Tire concerns. Pagels's opinion utterly lacks                it is entitled to judgment as a matter of law.
foundation, and should be excluded pursuant to Rule          Enterprise Bank, 92 F.3d at 747. The nonmoving
104(a). Pagels begins with the following                     party must demonstrate the existence of specific facts
assumptions: (1) there was a fire in the galley of the       in the record which create a genuine issue for trial.
boat; (2) there were electrical devices in the galley of     Krenik v. County of Le Sueur, 47 F.3d 953, 957 (8th
the boat, and electrical devices can cause fires; and        Cir.1995). A party opposing a properly supported
(3) there was no other heat source in the galley which       motion for summary judgment may not rest upon
could have started the fire. Based upon those                mere allegations or denials, but must set forth
assumptions, he reaches the rather innocuous                 specific facts showing that there is a genuine issue for
conclusion that the fire resulted from a malfunction         trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
of one of the electrical devises or its wiring. Pagels's     256, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986); Krenik,
conclusion, frankly, adds little to the record at all, as    47 F.3d at 957.

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3. Sears's Motion for Summary Judgment

 Sears has brought this motion for summary judgment
arguing that, if the testimony of Plack and Pagels is
excluded, there is no evidence in the record to
indicate that the fire originated with the dishwasher.
At the hearing on this motion, the Court expressed its
concern that the record contains testimony by other
experts which may, upon close inspection, implicate
the dishwasher. The parties, including counsel for the
Erpeldings, indicated that the other experts have
either withdrawn their opinions or changed them. The
parties seem to agree that the only evidence
implicating the dishwasher as the source of the fire
are the opinions of Plack and Pagels.

 [4] Accordingly, because the Court has determined
that the testimony of Plack and Pagels should be
excluded pursuant to Daubert and Kumho Tire and
for lack of foundation, the Court concludes that Sears
is entitled to summary judgment.

 Skipperliner, the only party to respond to Sears's
motion, argues not that Sears's motion should be
denied but that if Sears's motion is granted
Skipperliner should also be dismissed from the
action. Skipperliner may be correct. It is entirely
possible that, without the testimony of Plack and
Pagels, the Erpeldings have no viable claim against
Skipperliner. However, there is no motion for
summary judgment by Skipperliner properly before
the Court. Moreover, without any response by other
parties and a close review of the rest of the evidence,
the Court is unwilling to grant summary judgment
sua sponte.

For the reasons stated, IT IS HEREBY ORDERED:

 1. Third-Party Defendant Sears, Roebuck & Co.'s
motion to exclude the expert testimony of Lawrence
Plack and John Pagels and for summary judgment
(Doc. No. 100) is GRANTED.

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